Case 1:11-cv-03238-RM-KMT Document 58-1 Filed 11/29/12 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No.    11-cv-03238-PAB-KMT

  SAMUEL M. WALKER, pro se
  DIANE H. WALKER, pro se

  Plaintiffs,


  v.

  FRED WEGENER, individual and official capacity
  BOBBY PRIESTLY, individual and official capacity
  CINDY HARDEY, individual and official capacity
  REBECCA BRAMLETT, individual and official capacity
  AMY FRANCK, individual and official capacity
  JUAN GALLEGOS, individual and official capacity
  SGT. BROWN, individual and official capacity
  PARK COUNTY
  JOHN TIGHE, individual and official capacity
  DICK HODGES, individual and official capacity
  MARK DOWALIBY, individual and official capacity
  PARK COUNTY COMMISSIONERS
  JOHN SUTHERS, individual and official capacity
  DEBRA MCLIMANS, individual and official capacity

  Defendants.


   ORDER GRANTING DEFENDANTS’ MOTION FOR EXTENSION OF TIME TO FILE
    THEIR REPLY IN SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT


          BEFORE ME is Defendants, Fred Wegener, Bobby (sic) Priestly, Cindy Hardey,

  Rebecca Bramlett, Amy Franck, Juan Gallegos, and Dep. Sgt. Brown’s Motion for Extension of

  Time to File Their Reply in Support of Their Motion for Summary Judgment. IT IS HEREBY

  ORDERED that the Motion is Granted. The Defendants shall have through and including
Case 1:11-cv-03238-RM-KMT Document 58-1 Filed 11/29/12 USDC Colorado Page 2 of 2




  December 10, 2012 by which to file their Reply in Support of their Motion for Summary

  Judgment.

        Dated: _______________

                                         BY THE COURT:




                                         United States District Court Judge/
                                         United States Magistrate Judge




                                             2
